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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

LEATHA MUNAI                                    §
                                                §
VS.                                             §                          CIVIL ACTION NO.
                                                §
WAL-MART, INC., WAL-MART STORES                 §
TEXAS, LLC, WAL-MART STORES                     §
EAST, INC., AND ASSEMBLED                       §
PRODUCTS CORPORATION                            §


                                   NOTICE OF REMOVAL

TO THE HONORABLE UNITED STATES DISTRICT COURT:

        COMES NOW, Defendant WAL-MART STORES TEXAS, LLC ( “Walmart”) (also

incorrectly named by Plaintiff as Wal-Mart, Inc. and Wal-Mart Stores East, Inc.), and, with the

consent and agreement of Assembled Products Corporation (“Assembled Products”), files this

Notice of Removal, pursuant to 28 U.S.C. §§ 1441 and 1446, removing the above-captioned case

from the 164th Judicial District Court, Harris County, Texas, to the United States District Court

for the Southern District of Texas, Houston Division.

                                            I.
                                      NATURE OF SUIT

        1.      Plaintiff, Leatha Munai (“Plaintiff”), claims she suffered injuries at a Walmart

store in Houston, Texas on June 15, 2020, after a motorized shopping cart she was riding upon

malfunctioned and struck a meat cooler. See Ex. A at ¶¶ 12, 15. Plaintiff asserted various claims

of negligence against Walmart. See id. at ¶¶ 18-32. Plaintiff also sued Assembled Products,

alleging that they manufactured and designed the motorized shopping cart; Plaintiff asserted

various products liability actions and a breach of warranty action against Assembled Products.

See id. at ¶¶ 9, 33-59.
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        2.      Plaintiff’s lawsuit expressly seeks monetary damages of between $250,000.00 and

$1,000,000.00. See id. at ¶¶ 1-2 (“Plaintiff seeks monetary relief over $250,000”; “Plaintiff seeks

monetary relief of $250,000 to $1,000,000”).

                                           II.
                                 TIMELINESS OF REMOVAL

        3.      Plaintiff filed this lawsuit on June 10, 2022. Plaintiff served Walmart with her

Original Petition on June 15, 2022.

        4.      Walmart’s Notice of Removal is timely filed, as it is being filed within 30 days

after the date it was served on Walmart. See 28 U.S.C. § 1446.

                                          III.
                            BASIS FOR REMOVAL JURISDICTION

        5.      Removal is proper under 28 U.S.C. §§ 1441 and 1332 because there is complete

diversity of citizenship between the parties and because the amount in controversy exceeds

$75,000, exclusive of interest and costs.

A. Diversity of citizenship exists between the parties.

Plaintiff

        6.      Plaintiff resides in Texas and resided there at the time she filed suit. See Ex. A at

¶ 3. Thus, at the time Plaintiff filed her lawsuit and at the time Walmart filed this Notice of

Removal, Plaintiff was a citizen of the State of Texas.

Walmart entities

        7.      Plaintiff named three Walmart entities as defendants in her lawsuit: (1) Wal-Mart,

Inc.; (2) Wal-Mart Stores Texas, LLC; and (3) Wal-Mart East, Inc. See id. at ¶¶ 4-6. Although

only Wal-Mart Stores Texas, LLC is a proper Walmart entity and defendant for this case, none of

those entities would be a citizen of Texas.




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Wal-Mart Stores, Inc.

        8.      There is currently not an entity operating identified as Wal-Mart Stores, Inc. That

was the prior name of a currently operating entity, Walmart Inc. See Ex. C. The Wal-Mart

Stores, Inc. entity name became inactive on December 15, 2017. See id. at 3–5. Further, Walmart

Inc. is not a proper defendant for this case, as it was neither the owner nor the operator of the

premises at issue. As such, it cannot be liable for Plaintiff’s slip-and-fall incident.

        9.      Regardless, even if Plaintiff were to contend that a proper legal basis existed to

join Walmart Inc. to this suit, Walmart Inc. is diverse from Plaintiff. A corporation is “‘a citizen

of every State and foreign state by which it has been incorporated and of the State or foreign

state where it has its principal place of business.’” MidCap Media Fin., L.L.C., 929 F.3d at 314

(quoting 28 U.S.C. § 1332(c)(1)). At the time Plaintiff filed her lawsuit and at the time Walmart

filed this Notice of Removal, Walmart Inc. was a corporation and was incorporated in the State

of Delaware under the laws of the State of Delaware. At the time Plaintiff filed her lawsuit and at

the time Walmart filed this Notice of Removal, Walmart Inc.’s principal place of business was

located in the State of Arkansas. Therefore, at all times relevant to this matter, Walmart Inc. was

a citizen of the States of Arkansas and Delaware.

        10.     Although Walmart Inc. is not a proper entity for purposes of this suit (or is, at

most, a nominal defendant), to the extent Plaintiff contends that Walmart Inc. is a proper party to

this case and to the extent the Court believes Walmart Inc. should remain as a named defendant,

Walmart Inc. is represented by the same undersigned counsel as Wal-Mart Stores Texas, LLC in

this matter and consents to this removal.

Wal-Mart Stores Texas, LLC




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        11.     At the time Plaintiff filed her lawsuit and at the time Walmart filed this Notice of

Removal, Wal-Mart Stores Texas, LLC was a Delaware limited liability company, formed under

the laws of the State of Delaware, with its principal place of business in the State of Arkansas.

The citizenship of a limited liability company is determined by the citizenship of all its members.

See Harvey v. Grey Wolf Drilling Co., 542 F.3d 1077, 1079–80 (5th Cir. 2008). If the member of

an LLC is another business entity, the citizenship of that entity must be properly alleged. See

Mullins v. TestAmerica, Inc., 564 F.3d 386, 397-98 (5th Cir. 2009). At the time Plaintiff filed her

lawsuit and at the time Walmart filed this Notice of Removal, Wal-Mart Stores Texas, LLC had

only one member.

        12.     At the time Plaintiff filed her lawsuit and at the time Walmart filed this Notice of

Removal, the sole member of Wal-Mart Stores Texas, LLC was Wal-Mart Real Estate Business

Trust. At the time Plaintiff filed her lawsuit and at the time Walmart filed this Notice of

Removal, Wal-Mart Real Estate Business Trust was a statutory business trust organized and

formed in Delaware under the laws of the State of Delaware and with its principal place of

business in the State of Arkansas. The citizenship of a statutory trust, including a statutory

business trust, is determined by the citizenship of its members, which includes its shareholders.

Americold Realty Tr. v. Conagra Foods, Inc., 136 S. Ct. 1012, 1016 (2016); Bynane v. Bank of

New York Mellon for CWMBS, Inc. Asset-Backed Certificates Series 2006-24, 866 F.3d 351, 358

(5th Cir. 2017). At the time Plaintiff filed her lawsuit and at the time Walmart filed this Notice of

Removal, the sole member or shareholder of Wal-Mart Real Estate Business Trust was Wal-Mart

Property Co.

        13.     At the time Plaintiff filed her lawsuit and at the time Walmart filed this Notice of

Removal, Wal-Mart Property Co. was a corporation. As a corporation, Wal-Mart Property Co. is




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considered a citizen of every state where it is incorporated and every state where its principal

place of business is located. See MidCap Media Fin., L.L.C., 929 F.3d at 314; 28 U.S.C. §

1332(c)(1). At the time Plaintiff filed her lawsuit and at the time Walmart files this Notice of

Removal, Wal-Mart Property Co. was incorporated in the State of Delaware, under the laws of

the State of Delaware. At the time Plaintiff filed her lawsuit and at the time Walmart filed this

Notice of Removal, Wal-Mart Property Co.’s principal place of business was located in the State

of Arkansas. Therefore, at all times relevant to this matter, Wal-Mart Property Co. was a citizen

of the States of Arkansas and Delaware.

        14.     Because, at the time Plaintiff filed her lawsuit and at the time Walmart filed this

Notice of Removal, Wal-Mart Property Co.’s was a citizen of the States of Arkansas and

Delaware, Wal-Mart Real Estate Business Trust shared that same citizenship during those times.

Thus, at the time Plaintiff filed her lawsuit and at the time Walmart filed this Notice of Removal,

Wal-Mart Real Estate Business Trust was a citizen of the States of Arkansas and Delaware.

        15.     Because, at the time Plaintiff filed her lawsuit and at the time Walmart filed this

Notice of Removal, Wal-Mart Real Estate Business Trust was a citizen of the States of Arkansas

and Delaware, Wal-Mart Mart Stores Texas, LLC shared that same citizenship. Thus, at the time

Plaintiff filed her lawsuit and at the time Walmart filed this Notice of Removal, Wal-Mart Stores

Texas, LLC was a citizen of the States of Arkansas and Delaware. This is where the inquiry

ends. See also Rossignol v. Walmart Inc., Civ. Action No. 2:18-CV-274, 2018 WL 6521534, *1

(S.D. Tex. Dec. 12, 2018) (finding that the court’s diversity inquiry for Wal-Mart Stores Texas,

LLC ended at Wal-Mart Property Co. because it was a Delaware corporation with its principal

place of business in Arkansas). The Fifth Circuit also recognizes that Wal-Mart Stores Texas,




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LLC is diverse from Texas citizens. See, e.g., Huynh v. Walmart Inc., 30 F.4th 448, 452 n.2 (5th

Cir. 2022); Allen v. Walmart Stores, LLC, 907 F.3d 170, 176 n.1 (5th Cir. 2018).

Wal-Mart Stores East, Inc.

        16.     Plaintiff’s Original Petition contends that, on June 15, 2020, Wal-Mart Stores

East, Inc. owned, leased, possessed, operated, controlled, maintained, or managed a property,

known as Walmart (Store No. 1103), located at or near located at 3450 FM 1960 Road West,

Houston, TX 77068. See Ex. A at ¶ 12. It is unclear what Plaintiff is basing this contention upon;

it is not accurate. Wal-Mart Stores East, Inc. neither owned, operated, leased, possessed,

controlled, nor maintained the Walmart store at issue. Further, at the time of all the underlying

events in question (alleged as June 15, 2020), at the time Plaintiff filed her lawsuit, and at the

time Walmart filed this Notice of Removal, Wal-Mart Stores East, Inc. was not an operating

entity within the State of Texas. See Ex. C.

        17.     Wal-Mart Stores East, Inc. did apply for a certificate of authority to do business in

Texas back in 1996. See Ex. C at 1. However, it was terminated in 1999. See id. In 2000, Wal-

Mart Stores East, Inc. filed a new certificate of authority to do business in Texas. See id. at 2.

However, that certificate was withdrawn in June of 2013. See id. at 2-3. There is no other filings

with the Texas Secretary of State that Wal-Mart Stores East, Inc. is transacting any business in

Texas. However, Wal-Mart Stores East, Inc. was an Arkansas corporation with its principal place

of business in the State of Arkansas. See id. at 3.

        18.     There is an existing and operating Walmart entity named Wal-Mart Stores East,

L.P., but that entity is also not a proper party to this case and is not a Texas citizen. Wal-Mart

Stores East, L.P. neither owned, operated, leased, possessed, controlled, nor maintained the




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Walmart store at issue. However, out of an abundance of caution, Walmart will identify this

entity’s citizenship as well.

         19.    At the time Plaintiff filed her lawsuit and at the time Walmart filed this Notice of

Removal, Wal-Mart Stores East, LP was a Delaware limited partnership formed under the laws

of the State of Delaware. The citizenship of a limited partnership is determined by the citizenship

of each of partner. Harvey, 542 F.3d at 1079. At the time Plaintiff filed her lawsuit and at the

time Walmart filed this Notice of Removal, Wal-Mart Stores East, LP had two partners: WSE

Management, LLC and WSE Investment, LLC.

         20.    At the time Plaintiff filed her lawsuit and at the time Walmart filed this Notice of

Removal, both WSE Management, LLC and WSE Investment, LLC were Delaware limited

liability companies, both of which were formed under the laws of the State of Delaware and both

of which had their principal places of business in the State of Arkansas. The citizenship of both

WSE Management, LLC and WSE Investment, LLC is determined by the citizenship of each of

its members. See Harvey. at 1080.

         21.    At the time Plaintiff filed her lawsuit and at the time Walmart filed this Notice of

Removal, WSE Management, LLC had only a single member: Wal-Mart Stores East, LLC. At

the time Plaintiff filed her lawsuit and at the time Walmart filed this Notice of Removal, WSE

Investment, LLC also had only a single member and that single member was also Wal-Mart

Stores East, LLC. If the member of an LLC is another business entity, the citizenship of that

entity must be properly alleged. See Mullins v. TestAmerica, Inc., 564 F.3d 386, 397-98 (5th Cir.

2009).

         22.    At the time Plaintiff filed her lawsuit and at the time Walmart filed this Notice of

Removal, Wal-Mart Stores East, LLC was an Arkansas limited liability company formed under




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the laws of the State of Arkansas and had its principal place of business in the State of Arkansas.

As a limited liability company, the citizenship of Wal-Mart Stores East, LLC is determined by

the citizenship of each of its members. See Harvey. at 1080. At the time Plaintiff filed her

lawsuit and at the time Walmart filed this Notice of Removal, Wal-Mart Stores East, LLC had

only a single member.

        23.     At the time Plaintiff filed her lawsuit and at the time Walmart filed this Notice of

Removal, the sole member of Wal-Mart Stores East, LLC was Walmart Inc. Walmart Inc. is a

corporation. Its citizenship is determined by its state of incorporation and the state of its principal

place of business. MidCap Media Fin., L.L.C., 929 F.3d at 314; 28 U.S.C. § 1332(c)(1). As

previously noted, at the time Plaintiff filed her lawsuit and at the time Walmart filed this Notice

of Removal, Walmart Inc. was a Delaware corporation, incorporated under the laws of the State

of Delaware, with its principal place of business in the State of Arkansas. Thus, at the time

Plaintiff filed her lawsuit and at the time Walmart filed this Notice of Removal, Walmart Inc.

was a citizen of Delaware and Arkansas. See MidCap Media Fin., L.L.C., 929 F.3d at 314.

        24.     Because Walmart Inc. was a citizen of the States of Delaware and Arkansas at the

time Plaintiff filed her lawsuit and at the time Walmart filed this Notice of Removal, Wal-Mart

Stores East, LLC was also a citizen of the States of Delaware and Arkansas at those same times.

Because Wal-Mart Stores East, LLC was a citizen of the States of Delaware and Arkansas at the

time Plaintiff filed her lawsuit and at the time Walmart filed this Notice of Removal, both WSE

Management, LLC and WSE Investment, LLC were also citizens of the States of Delaware and

Arkansas at those same times. Because WSE Management, LLC and WSE Investment, LLC

were citizens of the States of Delaware and Arkansas at the time Plaintiff filed her lawsuit and at




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the time Walmart filed this Notice of Removal, Wal-Mart Stores East, L.P. was also a citizen of

the States of Delaware and Arkansas at those same times.

        25.     Although Wal-Mart Stores East, LP is not a proper party for this case (and has not

been named) or would be, at most, a nominal defendant, even if Plaintiff’s incorrect reference to

Wal-Mart Stores East, Inc. was intended to encompass Wal-Mart Stores East, LP or to the extent

Plaintiff might try to contend that Wal-Mart Stores East, LP is a proper party to this case, Wal-

Mart Stores East, LP is not a Texas citizen. Further, Wal-Mart Stores East, LP would be

represented by the same undersigned counsel as Wal-Mart Stores Texas, LLC in this matter and

consents to this removal.

Assembled Products Corporation

        26.     At the time Plaintiff filed her lawsuit and at the time Walmart filed this Notice of

Removal, Assembled Products Corporation was a corporation. Therefore, it is a citizen of every

state where it is incorporated and every state where its principal place of business is located. See

MidCap Media Fin., L.L.C., 929 F.3d at 314; 28 U.S.C. § 1332(c)(1). At the time Plaintiff filed

her lawsuit and at the time Walmart files this Notice of Removal, Assembled Products

Corporation was incorporated in the State of Arkansas, under the laws of the State of Arkansas.

At the time Plaintiff filed her lawsuit and at the time Walmart filed this Notice of Removal,

Assembled Products Corporation’s principal place of business was located in the State of

Arkansas. Therefore, at all times relevant to this matter, Assembled Products Corporation was a

citizen of the State of Arkansas. Assembled Products Corporation has consented to this removal.

Complete diversity of citizenship exists

        27.     As shown above, this lawsuit is between citizens of different states, and there is

complete diversity of citizenship between Plaintiff and the defendants pursuant to 28 U.S.C. §




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1332. Plaintiff is a citizen of Texas. The served defendants are, collectively, citizens of Delaware

and Arkansas. None of the defendants are citizens of the State of Texas. As such, Walmart has

satisfied the requirement of demonstrating diversity of citizenship between the parties.

B. The amount in controversy exceeds $75,000

        28.     For purposes of a removal, a defendant’s notice of removal only needs to include

“a plausible allegation that the amount in controversy exceeds the jurisdictional threshold.” See

Dart Cherokee Basin Operating Co., LLC v. Owens, 574 U.S. 81, 89, 135 S. Ct. 547, 554, 190 L.

Ed. 2d 495 (2014). Here, it is facially apparent from the face of Plaintiff’s lawsuit that the

amount in controversy requirement is satisfied here, because Plaintiff expressly pleaded that she

sought monetary relief from her lawsuit in a sum between $250,000.00 and $1,000,000.00. See

Ex. A at ¶¶ 1-2. For this reason, the amount-in-controversy requirement has been satisfied.

                                         V.
                       THIS NOTICE IS PROCEDURALLY CORRECT

        29.     Based on the aforementioned facts, the State Court Action may be removed to this

Court by Walmart in accordance with the provisions of 28 U.S.C. § 1441(a) because: (i) this

action is a civil action pending within the jurisdiction of the United States District Court for the

Southern District of Texas, Houston Division; (ii) venue is proper in this District because the

state court where the action is pending is in this District; (iii) this action is between citizens of

different states; and (iv) the amount in controversy exceeds $75,000, exclusive of interest and

costs as specifically plead in the Petition. Further, all the defendants have consented to this

removal.

        30.     Upon filing of this Notice of Removal of the cause, Walmart gave written notice

of the filing to Plaintiff and her counsel as required by law. A copy of this Notice is also being

filed with the Clerk of the Court of the 164th Judicial District Court, Harris County, Texas,



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where this cause was originally filed. A copy of all processes, pleadings, and orders has been

filed separately with this Court pursuant to 28 U.S.C. § 1446(a).

        31.     Walmart retains the right to supplement the jurisdictional allegations by affidavit,

declaration, or otherwise should Plaintiff challenge the allegations in a motion or other filing.

                                          IV.
                                 CONCLUSION AND PRAYER

        32.     Walmart has established that the amount in controversy exceeds $75,000.00 and

that diversity of citizenship exists between the parties. Therefore, removal is proper in this case.

                                                      Respectfully submitted,

                                                      BUSH & RAMIREZ, PLLC

                                                      /s/ John A. Ramirez
                                                      John A. Ramirez
                                                      State Bar No. 00798450
                                                      Federal ID No. 21280
                                                      Neal A. Hoffman
                                                      State Bar No. 24069936
                                                      Federal ID No. 1048603
                                                      5615 Kirby Drive, Suite 900
                                                      Houston, Texas 77005
                                                      Telephone: (713) 626-1555
                                                      Facsimile: (713) 622-8077
                                                      jramirez.atty@bushramirez.com
                                                      nhoffman.atty@bushramirez.com

                                                      ATTORNEYS FOR DEFENDANT,
                                                      WAL-MART STORES TEXAS, LLC




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                                CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing instrument has been sent to all interested
counsel of record in accordance with the FEDERAL RULES OF CIVIL PROCEDURE on this 15th day
of July 2022.
                Damon Mathias
                MATHIAS RAPHAEL, PLLC
                13601 Preston Rd., Suite W217
                Dallas, Texas 75240

                                                    /s/ John A. Ramirez
                                                   John A. Ramirez




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